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                    EXHIBIT A
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William J. Courtney, Esq.
New Jersey Attorney ID 016161986
LAW OFFICES OF WILLIAM J. COURTNEY, L.L.C.
6 Oldwick Road
Whitehouse Station, NJ 08889
(908) 782 - 5900 (tel)
(908) 782 - 7001 (fax)
Attorneys for Plaintiff


ELIZABETH SCOTT                                          SUPERIOR COURT OF NEW JERSEY
                                                         LAW DIVISION: ESSEX COUNTY
Plaintiff,
                                                            Docket No.: ESX-L-000552-20
             vs.

MONTCLAIR STATE UNIVERSITY,                                          A Civil Action
SHANNON BELLUM, individually and in her capacity
as Department Administrator;                                          SUMMONS

Defendant.



TO:          Montclair State University
             1 Normal Avenue
             Montclair, NJ 07043

       The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey.
The complaint attached to this summons states the basis for this lawsuit. If you dispute this complaint,
you or your attorney must file a written answer or motion and proof of service with the deputy clerk of
the Superior Court in the county listed above within 35 days from the date you received this summons,
not counting the date you received it. (The address of each deputy clerk of the Superior Court is
provided.) If the complaint is one in foreclosure, then you must file your written answer or motion and
proof of service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton,
NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your
answer or motion when it is filed. You must also send a copy of your answer or motion to plaintiff's
attorney whose name and address appear above, or to plaintiff, if no attorney is named above. A
telephone call will not protect your rights; you must file and serve a written answer or motion (with fee
of $175.00 and completed Case Information Statement) if you want the court to hear your defense.

       If you do not file and serve a written answer or motion within 35 days, the court may enter a
judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment is
entered against you, the Sheriff may seize your money, wages or property to pay all or part of the
judgment.

       If you cannot afford an attorney, you may call the Legal Services office in the county where
you live. A list of these offices is provided. If you do not have an attorney and are not eligible for free


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legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral
Services. A list of these numbers is also provided.


DATED: January 23, 2020                                     /s/ Michelle M. Smith
                                                            Michelle M. Smith
                                                            Clerk of the Superior Court

Name of Defendant to Be Served:       President
                                      Montclair State University




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William J. Courtney, Esq.
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LAW OFFICES OF WILLIAM J. COURTNEY, L.L.C.
6 Oldwick Road
Whitehouse Station, NJ 08889
(908) 782 - 5900 (tel)
(908) 782 - 7001 (fax)
Attorneys for Plaintiff


ELIZABETH SCOTT                                         SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION: ESSEX COUNTY
Plaintiff,
                                                           Docket No.: ESX-L-000552-20
             vs.

MONTCLAIR STATE UNIVERSITY,                                        A Civil Action
SHANNON BELLUM, individually and in her capacity
as Department Administrator;                                        SUMMONS

Defendants .



TO:          Shannon Bellum
             Department Administrator
             Department of Family Science and Human Development
             Montclair State University
             1 Normal Avenue
             Montclair, NJ 07043

       The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey.
The complaint attached to this summons states the basis for this lawsuit. If you dispute this complaint,
you or your attorney must file a written answer or motion and proof of service with the deputy clerk of
the Superior Court in the county listed above within 35 days from the date you received this summons,
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       If you do not file and serve a written answer or motion within 35 days, the court may enter a
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judgment.

                                                    1
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        If you cannot afford an attorney, you may call the Legal Services office in the county where
you live. A list of these offices is provided. If you do not have an attorney and are not eligible for free
legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral
Services. A list of these numbers is also provided.


DATED: January 23, 2020                                        /s/ Michelle M. Smith
                                                               Michelle M. Smith
                                                               Clerk of the Superior Court

Name of Defendant to Be Served:        Shannon Bellum




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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 2 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 3 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 4 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 5 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 6 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 7 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 8 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 9 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 10 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 11 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 12 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 13 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 14 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 15 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 16 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 17 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 18 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 19 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 20 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 21 of 22 Trans ID: LCV2020147646
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     ESX-L-000552-20 01/22/2020 2:51:09 PM Pg 22 of 22 Trans ID: LCV2020147646
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      ESX-L-000552-20 02/14/2020 9:15:34 AM Pg 1 of 1 Trans ID: LCV2020318305
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